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UNITED srArEs oF AMERICA, U£Hlli§'§`§u (§“(?gt
Plainu'rr, C' '
v. NO. 05-20204 B
WARD cRUTcHFrELD,
Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO DISMISS INDICTMENT FOR
IMPROPER VENUE OR, IN THE ALTERNATIVE, TO TRANSFER TRIAL
TO THE EASTERN DISTR_ICT OF TENNESSEE

 

In a two-count indictment entered May 25, 2005, the Defendant, Ward Crutchfield, was
charged along with Charles Love with conspiracy to obstruct, delay and affect commerce by means
of extortion and conspiracy to engage in theft or bribery concerning programs receiving federal
funds, in violation of 18 U.S.C. §§ 1951 and 666, respectively Crutchfleld, a resident of
Chattanooga, Tennessee, is an elected member of the Tennessee State Senate from the Tenth Senate
District who served in the 103rd and 104th Tennessee General Assemblies. The General Assembly
sits in Nashville, the capital of Tennessee. Before the Court is the Defendant'sl motion to dismiss
the indictment entered in this case on the grounds of improper venue or, in the altemative, to transfer
the matter to the United States District Court for the Eastem District of Tennessee, Southem
Division, to which the Govemment has responded and the Defendant has replied. As the Court finds

that this matter may appropriately and adequately be determined on the parties' submissions, requests

 

]The term "Defendant" as used herein refers only to Crutchfleld unless otherwise
specified.

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for oral argument are DENIED.

The charges against Crutchfield and Love arise from Operation Tennessee Waltz, a multi-
year investigation initiated in response to allegations of corruption by Tennessee elected officials
The investigation was directed by the United States Attomey's Ofiice in Memphis, Tennessee and
carried out by agents of the Federal Bureau of Investigation ("FBI"). As part of the sting operation,2
agents created a fictitious company called E-Cycie Management, Incorporated ("E-Cycle"), which
was purportedly headquartered in Atlanta, Georgia with offices in Nashville and Memphis,
Tennessee. The sham company was engaged in the business of obtaining and disposing of obsolete
electronic equipment by salvaging it at a location outside the United States. Defendant Love
allegedly represented to certain persons, including agents whom he believed were associates of E-
Cycle, that he could influence, collect money for, and act as a "bag man" for members of the
Tennessee legislature amenable to illegally sponsoring and voting for legislation in exchange for
money. Crutchfield was, according to Love, just such an individual. During meetings in Memphis,
Tennessee in July and August 2004, the indictment claimed that Love advised E-Cycle
representatives that he had on previous occasions paid legislators, including the Defendant, to pay
"more attention" to certain legislation the contributors of the cash Wished to become law.

According to the indictment, in September 2004, Love and an E-Cycle representative met
with Crutchfleld in Chattanooga, during which Love explained to the Defendant that the undercover
business wanted the legislator to support a certain bill that would be beneficial to E-Cyc]e. A few

days later, Love advised E-Cycle that the Defendant wanted a certain amount of money in exchange

 

2The Sixth Circuit has recognized that "undercover operations are sometimes necessary in
political corruption cases." Commonwealth of Kv. v. Long. 837 F.2d 727, 749 (6th Cir. 1988).

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for supporting the bi]l. Funds were sent via wire transfer from the Westem District of Tennessee to
Love's bank account in Chattanooga lt is alleged that, on the same day, payment was made on
behalf of E-Cycle by Love to Crutchfield in Chattanooga

In October 2004, Love met With an agent in Memphis for the purpose of discussing how
additional moneys would be paid to Crutchfield. Love and the E-Cycle representative then drove
from Memphis to Chattanooga to make the delivery in person. On October 13, 2004, the two met
at the Defendant‘s Chattanooga office, at which time Love advised that he had given the money,
enclosed in an envelope addressed to "W.C.," to Crutchfield's secretary. In a meeting later that day
with Crutchfield, the Defendant told the E-Cycle representative that "we will do whatever you want
us to do" after being informed by his secretary that E-Cycle "was mighty nice to us today."

The United States Constitution requires that all criminal trials "shall be held in the State
where the said Crimes shall have been committed." U.S. Const. art. HI, § 2, cl. 3. Similarly, the
Sixth Amendment guarantees that "[i]n all criminal prosecutions, the accused shall enjoy the right
to a speedy and public trial, by an impartial jury of the State and district wherein the crime shall have
been committed." U.S. Const. amend VI. “These constitutional provisions are implemented by
Rule 18 of the Federal Rules of Criminal Procedure," United States v. Williams, 788 F.2d 1213,
1215 (6th Cir. 1986) (citation omitted), which provides that, "[u]nless a statute or these rules permit
otherwise, the government must prosecute an offense in a district where the offense was committed
The court must set the place for trial within the district with due regard for the convenience of the
defendant and the witnesses, and the prompt administration ofjustice." w Fed. R. Crim. P. 18.

Venue may be proper in more than one location. Un_ited_§tatesv._M§, 274 F.3d 107'9,

1084 (6th Cir. 2001). Title 18 U.S.C. § 3237 states that "[e]xcept as otherwise expressly provided

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by enactment of Congress, any offense against the United States begun in one district and completed
in another, or committed in more than one district, may be inquired of and prosecuted in any district
in which such offense was begun, continued, or completed." §e_e United States v. Scaife, 749 F.2d
338, 346 (6th Cir. 1984), @'_g Ld Lh'g e_n_ bag denied (Jan. 21, 1985) (applying § 3237 to
prosecution under the Hobbs Act). The Sixth Circuit has held that "venue is proper in conspiracy
prosecutions in any district where the conspiracy was formed or in any district where an overt act
in furtherance of the conspiracy was performed." I_d. To satisfy the statute, “[a] conspiracy

defendant need not have entered the district so long as this standard is met." Ld_.; s_e§ also United

 

States v. Zidell, 323 F.3d412, 422 (6th Cir.), Lrt.d_eniii, 540 U.S. 824, 124 S.Ct. 178, 157 L.Ed.2d
46 (2003).

More generally, this Circuit has evaluated venue questions pursuant to the "substantial
contacts" test, under which the Court “takes into account a number of factors--the site of the
defendant's acts, the elements and nature of the crime, the locus of the effect of the criminal conduct,
and the suitability of each district for accurate fact finding." Williams, 274 F.3d at 1084 (citing
Williams, 788 F.2d at 1215; United States v. Reed, 773 F.2d 477, 481 (2d Cir. 1985)). "The
government must prove that venue was proper as to each count charged." United States v. Wood,
364 F.3d 704, 710 (6th Cir. 2004); s_e_e alj United States v. Branan, 457 F.2d 1062, 1065 (6th Cir.
1972) ("There can be no question about the obligation of the Govemment to establish proper venue
in a criminal prosecution."). Whether to grant a motion to dismiss based on improper venue lies
within the discretion of the trial court. United States v. Hunter, 863 F.Supp. 462, 470 (E.D. Mich.
1994)

The Defendant first argues that the aiding and abetting count under 18 U.S.C. § 2 should be

dismissed for improper venue. Although the indictment cites the statute, it does not specifically

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charge Crutchfield with aiding and abetting under § 2, which provides that “[w]hoever commits an
offense against the United States or aids, abets, counsels, commands, induces or procures its
commission," or "willfully causes an act to be done which if directly performed by him or another
would be an offense against the United States" "is punishable as a principal." 18 U.S.C. § 2(a) &
(b). Aiding and abetting has been described as an alternate theory of liability as opposed to a
substantive offense. An indictment need not even charge a § 2 violation in order to support a jury
verdict based upon a finding of aiding and abetting. Rather, § 2 is embodied in every federal
indictment for a substantive offense, whether set forth explicitly or implicitly. §§ United States v.
Taniggchi, Nos. 00-4495, 00-4496, 49 Fed. Appx. 506, 520 (6th Cir. Oct. 11, 2002); United States
v. Camacho, 233 F.3d1308, 1315 (1 lth Cir. 2000), Lr_t_.d_em, 532 U.S. 951, 121 S.Ct. 1423, 149
L.Ed.2d 363 (2001); _ULHM, 55 F.3d 1197, 1204 (6th Cir. 1995); _U_nit_ed__Statesv_.
Armstrong, 909 F.2d 1238, 1241 (9th Cir.), §€_rt.§i§@, 498 U.S. 870, 111 S.Ct. 191, 112 L.Ed.2d
153 (1990); U_mttMLM, 534 F.2d1197, 1200 (6th Cir. 1976);_1M_d_§t_aM_M,

363 F.2d 68, 72 (6th Cir. 1966), LrL denied, 385 U.S. 1002, 87 S.Ct. 705, 17 L.Ed.2d 542 (1967).

 

Thus, an indictment under a substantive statute and Section 2 is the functional equivalent of an
indictment under the substantive law alone. Armstrong, 909 F.2d at 1243 (citation omitted). The
section merely "describes the kinds of individuals who can be held responsible for a crime; it defines
the degree of criminal responsibility which will be attributed to a particular individual. The nature
of the crime itself must be determined by reference to some other statute." § (citation omitted).
As a consequence, the Court finds Defendant's argument unpersuasive

Crutchfield refers the Court to two cases in support of his position in favor of dismissal

which fail to persuade the Court. United States v. Sweig, 316 F.Supp. 1 148 (S.D.N.Y. 1970) is cited

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for the proposition that venue for a principal under an aiding and abetting theory, assuming
Crutchfield is considered a principal in this prosecution, may not be established outside the district
in which the crime was committed based on the acts of an accessory As a consequence, the
Defendant argues, he cannot be forced to stand trial in this district solely based on Love's accessorial
acts here. However, the Mg court dealt specifically with a non-continuous substantive count
(unlawful appearance of a government employee before a government agency on behalf of a third
party). §§ §_W_eig, 316 F.Supp. at 1159-63 ("The fact that preparations, even essential ones, [by an
accessory] may take place ‘elsewhere,' and that effects may radiate widely, does not render a discrete
and identifiable wrong 'continuing' so as to give the prosecution a choice of two or more districts in
which to prosecute.").3 ln doing so, the court took great pains to distinguish the facts before it from
those involving the multiple venues available in prosecutions for continuous crimes, which include
conspiracy. Ld.; se_e a_lY United States v. Robertson, 67 Fed. Appx. 257, 269 (6th Cir. May 9, 2003)
("conspiracy is a continuing crime") fmg ,U_n_it_ed_Sta_tesv.l:`,d_g_eco_mh, 910 F.2d 1309, 1312 (6th
Cir. 1990); Williams, 274 F.3d at 1083~84 (conspiracy is a continuing crime, and "venue is proper
in any district along the Way"). Similarly, the court in Qrite_dSt_ateM, 464 F.2d 1015 (4th
Cir.), Lrt.@,iedsu_bm_.&rdv_.lln_ited$__%, 409 U.S. 867, 93 S.Ct. 165, 34 L.Ed.2d116(1972)
addressed the non-continuing substantive crime of bank robbery, while recognizing that continuing

crimes such as conspiracy may be tried in more than one district. _S__e_e Walden, 464 F.2d at 1018-20.

The movant contends that venue is also improper with respect to the conspiracy counts,

 

3The defendant's motion to dismiss the conspiracy count in Sweig, which alleged a
number of overt acts described generally as having occurred in the Southern District of New
York, the District of Columbia, and elsewhere, was denied without discussion Sweig, 316
F.Supp. at 1159.

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averring that the meetings between Defendant Love and Govemment agents, without his presence,
were "prior and preparatory" to any conspiracy alleged to involve Crutchfield. At the outset, the
Court recognizes that a conspiracy may be based on a tacit understanding among co-conspirators.
A formal agreement is not necessary. W United States v. Hamilton‘ 263 F.3d 645, 652 (6th Cir.
2001),0£1;@:_€_1, 535 U.S. 1007, 122 S.Ct. 1584, 152 L.Ed.Zd 502 (2002). "A conspirator need
not have personally performed the deed for which he is being held liable. A conspirator can be held
criminally liable for the actions of his co-conspirators committed during and in furtherance of the
conspiracy." l_d. (citation omitted). Therefore, Crutchfield may be held liable for the acts of his co-
conspirator, Charles Love,

ln presenting his argument, the Defendant points to the Second Circuit's decision in U_nitil
States v. Beech-Nut Nutrition Corp., 871 F.2d 1 181 (2d Cir.), peg Qr@ w Un_. Laveg{v. United
§_ta£§, 493 U.S. 933, 110 S.Ct. 324, 107 L.Ed.2d 314 (1989), for the proposition that "prior and
preparatory" acts cannot establish venue. ln Beech-Nut, two of the defendants challenged on venue
grounds their convictions as to substantive counts of violating the Federal Food, Drug, and Cosmetic
Act, 21 U.S.C. § 33 l(a). Beech-Nut Nutrition Corp., 871 F.2d at 1183-84. The charge, prosecuted
in the Eastern District of New York, arose from the alleged introduction of adulterated or misbranded
apple juice into interstate commerce I_d. at 1183, 1189. The court, noting that "it is helpful to
examine the 'key verbs' used by the statute in defining the offense," observed that the substantive
crime at issue prohibited the "introduction or delivery for introduction into interstate commerce . .
. any food . . that is adulterated or misbranded." The offense consisted of "putting into the stream
of interstate commerce adulterated or misbranded food or the sending of illicit goods across state

lines." g at 1189 (internal citations and quotation marks omitted). The court concluded that

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telephoning brokers in the Eastern District of New York to place orders for the adulterated apple
juice and mailing confirmations for the orders into the district

were not part of the offense of "introducing" the offending juice into commerce but

were merely prior and preparatory to that offense Whether the crime be continuing

or noncontinurng, venue rs not proper in a district in which the only acts performed

by the defendant were preparatory to the offense and not part of the offense.
l_d_. at 1190 (quotation marks supplied).

Even if the strict venue standard espoused in Beech-Nut were considered persuasive by this
Court, it must be recognized that the decision has sparse support within the Second Circuit itself.
In United States v. Knight, 822 F.Supp. 1071 (S.D.N.Y. 1993), the district court cautioned that
Beech-Nut "has been criticized and regarded as unduly narrow in its disposition of the venue point,“
while reluctantly conceding that it must be followed by courts in the Second Circuit until overruledl
_Knigm, 822 F.Supp. at 1076 (Mg United States v. Step_henson, 895 F.2d 867 (2d Cir. 1990);
United States v. De]ia, 944 F.2d 1010 (2d Cir. 1991); U_mMs\/.Bilze@_n, 926 F.2d 1285 (2d
Cir. 1991)). In one of its most recent visits to M, the Second Circuit, in U_nitLS_t_aM
m, 246 F.3d 186, 191 (2d Cir. 2001), instructed that its tradition of looking to 1key verbs' to define
what Was and was not part of a criminal offense as set forth in M-N_ut was of questionable
viability in light of United States v. Rodriguez~Moreno, 526 U.S. 275, 119 S.Ct. 1239, 143 L.Ed.Zd
3 88 (1999), in which the Supreme Court "warned against an overly rigid application of the key verb
test." l(__i_r_n_, 246 F.3d at 191.

_B_ee_chi\lLt has been cited by a panel of this circuit in the unpublished decision of _UM

States V. Beg, No, 93»5376, 1994 WL 100274 (6th Cir. Mar. 24, 1994), cert. denied, 513 U.S. 912,

115 S.Ct. 285, 130 L.Ed.2d 201 (1994). ln Be§v, the defendants were prosecuted in the Eastem

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District of Kentucky for conspiring to possess with intent to distribute cocaine based on ailegations
that they traveled from Kentucky to Texas, where they purchased the drugs from undercover agents.
B£ry, 1994 WL 100274, at * l. ln their objection to venue, the defendants contended that no overt
acts in furtherance of the conspiracy occurred in Kentucky. l_d. Citing to Beech-Nut‘s statement that
preparatory acts are insufficient to establish venue, the court set out to determine whether a showing
had been made that the defendants "agreed to purchase the cocaine in Texas some time before they
left the Eastern District of Kentucky. " I_d_. at *2. The defendants contended that they only discussed
the possibility of purchasing the cocaine while in Kentucky and that the decision was not set until
they reached Texas. ch at *3. The court rejected the argument, finding that, once the defendants
reached Texas and met with the agents, they telephoned a co-defendant in Kentucky and told him
to fly to Texas from Kentucky With money to pay for the drugs. lt was understood that the money
came from Kentucky. § Beyond its mere citation to Beech-Nut with respect to preparatory acts,
the Sixth Circuit gave no indication as to whether it approved or disapproved of the Second Circuit's
decision, although it appears Beech-Nut's strict venue construction was not followed in` B_<Lry.

ln this case, of course, the Court is not bound by the decisions of the Second Circuit. Here,
the Defendant seeks to narrow the focus of the Court's consideration to include only "preparatory"
meetings between Love and Govemment agents in Memphis, while ignoring his role as a co~
conspirator and other allegations in the indictment which clearly support a finding that additional
acts in furtherance of the conspiracy occurred in the Westem District of Tennessee. Specifically, the
indictment alleges that money to pay Crutchfield for supporting the bill on behalf of E-Cycle was
wired from this district and that, upon his receipt of the money from Love, the Defendant allegedly

knew the identity and location of the source. According to the Govemment, when Love and the E-

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Cycle representative traveled from Memphis to Chattanooga to make the additional payment in
person, again, Crutchfield was aware, as were the defendants in Begy, of whence they and their
money came. The Court finds no support for the theory that these acts were "preparatory" and
therefore insufficient to support venue. Accordingly, the Court concludes, based on the information
before it, that dismissal of the indictment on the grounds that the acts of the conspirators in the
Westem District of Tennessee were preparatory is unavailing

Crutchfield also avers that venue was unlawfully “manufactured" by the Govemment in this
district, in support of which he cites to United States v. Archer, 486 F.2d 670 (2d Cir. 1973).4

ln Archer, federal agents investigating corruption in the New York criminal justice

system arranged the sham arrest and arraignment of an undercover agent, who then

made it known that he would pay to avoid trial or conviction. Archer, a local district

attorney, took the bait and accepted a bribe. Belatedly realizing that there was no

basis for federal jurisdiction, the agent made a telephone ca11 from out-of-state to

Klein, a lawyer conspiring with Archer. Klein returned his cal], and, on the basis of

that return call, the government prosecuted Archer and his co-defendants in federal
court for using a facility in interstate commerce . . .

 

United States v. Peters, 952 F.2d 960, 962 (7th Cir.), Lt; denied, 503 U.S. 911, 112 S.Ct. 1277, 117

 

L.Ed.2d 503 (1992) (citing Archer). While reversing the defendants' convictions on other grounds,

 

the Second Circuit went on to vent its distaste for the conduct of the government agents, stating

thusly:

[W]hen Congress responded to the Attorney General's request to lend the aid of
federal law enforcement to local officials in the prosecution of certain crimes,
primarily of local concern, where the participants were engaging in interstate activity,
it did not mean to include cases where the federal officers themselves supplied the
interstate element and acted to ensure that an interstate element would be present.
Manufactured federal jurisdiction is even more offensive in criminal than in civil
proceedings

 

4The defendants in Archer were charged with violation of the Travel Act, 18 U.S.C. §
1952. Archer, 486 F.2d at 672.

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[T]he Govemment agents displayed an arro gant disregard for the sanctity of the state
judicial and police processes The investigators apparently permitted their deserved
contempt for corrupt practitioners in the Queens criminal justice system to spill over
into disdain for all the participants in the system -- including the police, the courts,
and the members of the grand jury, all of whom were subjected to the Govemment's
fabrications. While this pattern of deception may be less serious than some forms of
governmental participation in crime that can be hypothesized, it is substantially more
offensive than common cases where government agents induce the sale of narcotics
in order to make drug arrests.

Archer, 486 F.2d at 677, 682. It is the position of the Defendant that federal agents posing as E-
Cycle representatives met with Love in Memphis solely for the purpose of establishing venue here,

just as the defendants in Archer attempted to "manufacture“ federal jurisdiction

 

ln response, the Govemment points out that Archer too has been criticized in subsequent

 

decisions, citing the Seventh Circuit's determination in Peters, in which the court articulated that

[t]his circuit has addressed Archer only on a few occasionsl Summing up our own
and other circuits' decisions on the issue, we stated in United States v. Podolskv. 798
F.2d 177, 181 (7th Cir. 1986) (citing cases), that the course of decisions casts doubt
on the vitality of the independent principle announced in Archer that forbids the
"manufacture“ of federal jurisdiction in circumstances not constituting entrapment
and not canceling any element of the crime such as criminal intent. Nonetheless, the
possibility that a case might arise where federal jurisdiction would be inappropriate
because it was "manufactured“ has not been completely foreclosed We do not
foreclose it now; yet we cannot agree with Mr. Peters that in the present case federal
jurisdiction was inappropriate because "manufactured."

 

 

Peters, 952 F.2d at 962-63 (internal citations, footnotes and quotation marks omitted).5 The Sixth

 

 

Circuit has also found the Archer decision to be of limited, if not questionable, value, noting that

"[i]ndeed, courts that have construed Archer have taken pains to limit its applicability and to explain

 

 

5This Defendant has not sought dismissal of this prosecution based on entrapment or
because the elements of the offenses charged have not been met.

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that 'manufactured jurisdiction' as an independent doctrine is a dubious concept " § United States
v. Burdette, 86 Fed. Appx. 121 , 127 (6th Cir. Jan. 16, 2004); §§ also United States v. Petit. 841 F.2d
1546, 1553 (l lth Cir.); Lrt. Msgb@r& Fernandez v. United States, 487 U.S. 1237, 108 S.Ct.
2906, 101 L.Ed.2d 938 (1988) ("federal courts have been extremely reluctant to set aside convictions
on the sole basis of the principle announced in M").

Sixth Circuit courts considering an _AM challenge have found it inapplicablel The

defendant in Burdette, who lived in West Virginia at the time of the offense, convinced her lover,

 

Stephen Adams, to have her husband murdered Burdette, 86 Fed. Appx. at 123. Adams approached

 

a fellow Arrny soldier stationed in Kentucky, Michael Myott, to perform the killing, who in turn
notified military authorities l_d¢ at 123-24. After Myott phoned Adams, on the government's
instructions, advising him that he knew someone who could kill Burdette's husband, an agent phoned
Adams and the defendant, posing as the “hit man." §§ at 124, These calls were initiated by the
government from Kentucky and Tennessee. I_d_. at 127. In rejecting Burdette's M argument to
jurisdiction in Tennessee, the court concluded that the telephone calls from Tennessee were initiated
by the cooperating individual's government contacts and that they were merely a part of the overall
plan to kill the husband. Those contacts did not create the criminal offense. I_d.

Similarly, in United States v. Williams. No. 92-5658, 1993 WL 492296 (6th Cir. Nov. 29,
1993), the defendant, Cordelia Williams, a Kentucky resident, plotted, along with her brother Danny,
to have her estranged husband murdered Williams, 1993 WL 492296, at *1. Danny Williams
contacted a fellow trucker, who lived in Louisiana, to see if he could commit the crime or refer him
to someone who could. _I_<L The trucker called local FBI agents, who instructed him to phone

Cordelia Williarns from Louisiana and introduce to her an undercover agent posing as a hit man.

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E_; The defendant later forwarded to the "hit man" $200 via money order from Kentucky to

Louisiana. I_d. at *3. The court found Archer inapplicable, as the contacts with Louisiana simply

 

facilitated the murder-for-hire scheme and were not meant to manufacture jurisdiction ld_.

The court in United States v. Degan, 229 F.3d 553 (6th Cir. 2000) reached a like conclusion
in another murder-for-hire case. ln Mega_n, the defendant, a resident of Tennessee, met James Lee
Noel, whom he later asked to consider killing Degan's wife. Bg@, 229 F.3d at 555 . The defendant
asked Noel, who lived in Mississippi, to come to Tennessee to further discuss his offer. kl_. Upon
arriving in Memphis, Noel contacted the FBI, which fitted him with a recording device, permitting
government agents to hear the details of the planned crime. I_dz Degan and Noel agreed that the
latter would return to Memphis the following week and travel from there to Florida to commit the
murder. EL at 5 55-56. The defendant sought application of M, contending that, as Noel had
entered into a cooperating relationship with the government by the time he made the second trip to
Tennessee, he could not have caused Noel to travel from Mississippi to Tennessee. Thus, the
argument went, the government "manufactured" jurisdiction in Tennessee Ld. at 557. The Sixth
Circuit rejected the defendant's assertion, finding that because Noel went from Mississippi to
Tennessee with Degan's knowledge and at his request, it could not be said that the government
manufactured jurisdiction L

One of the most recent circuit cases to address Archer is United States v. Skoczen. 405 F.3d
537 (7th Cir. 2005). ln Skoczen, federal agents instituted a "sting“ operation involving the
defendant's cousin, who was cooperating with government customs agents Skoczen, 405 F.3d at
541. Skoczen, his cousin and an undercover agent, posing as a thief looking for a buyer for some

50,000 cartons of Marlboro cigarettes, met to discuss the possibility of locating a purchaser. I_d_.

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Skoczen indicated that he was interested, but only wanted Marlboro cigarettes in a hard pack. I_da

[l]n preparation for the arrest, the agents borrowed approximately 325,000 packs of
cigarettes from a Philip Morris facility in Virginia. To get them to Illinois[, where
the case was being prosecuted], a Customs agent drove to Richmond, Virginia, in a
Customs department trailer, picked up the cigarettes, and drove them back to Illinois.
Customs parked the trailer in a warehouse until it was time to deliver them to
Skoczen and his co-conspirators.

[Following more meetings and negotiations,] [t]he agents met Skoczen and his
associates in a parking lot where they were to inspect the contents and unload the
trailer. When they satisfied themselves that everything was in order, they paid the
agents Skoczen's associate unhooked the trailer from the Customs' tractor and
hooked it to his own tractor. The agents then arrested Skoczen and his associates
I_d. Skoczen argued that government agents manufactured jurisdiction by moving the cigarettes from
Virginia to lllinois and that they did so for the purpose of creating federal jurisdiction in lllinois,

analogizing the case with Archer. § at 541 -52. The Seventh Circuit, observing that "[n]o case has

ever turned on the principle set forth in Archer," found it equally unavailing in the case before it.

 

Ld. at 543-44. The court determined that "[i]n procuring the load [of cigarettes], the government
merely was affording the opportunity and facilities for the commission of the offense charged; the
participants were awaiting any propitious opportunity, and never considered themselves limited by
boundaries." Ld. at 544 (citation and internal quotation marks omitted).

ln applying the law to the facts in this case, and analogizing the decisions involving federal
jurisdiction to the instant challenge to venue, the Court finds no evidence whatever to suggest that

federal agents engaged in the outrageous conduct condemned in Archer. According to the

 

indictment, Crutchfield, along with his co-conspirator, allegedly responded to an opportunity
afforded by the Govemment to engage in activities in which they had participated on previous

occasions, without consideration to which part of the state of Tennessee the opportunity presented

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itself. The contacts with this district were merely part of the conspiracy The circumstances of this
case, involving inducement of the sale of favors by public officials, are, in this Court's view, clearly
akin to the "common cases where government agents induce the sale of narcotics in order to make

drug arrests," which the Archer court found "substantially [less] offensive“ than the facts before it.

 

w M, 486 F.2d at 677. Based on the foregoing, the motion to dismiss the indictment is
DENIED.

In the altemative, the Defendant seeks transfer of the trial in this matter to the Eastem District
of Tennessee, Southern Division, pursuant to Rule 21 (b) of the Federal Rules of Criminal Procedure.
The Rule provides that, " [u]pon the defendant's motion, the court may transfer the proceeding, or one
or more counts, against that defendant to another district for the convenience of the parties and
witnesses and in the interest of justice." Fed. R. Crim. P. 21(b). ln Platt v. Minnesota Mining &
Mfg. Co., 376 U.S. 240, 84 S.Ct. 769, ll L.Ed.2d 674 (1964), the Supreme Court cited with
approval a list of factors pertinent to a determination of whether a case should be transferred "in the
interest of justice," including “( 1) location of [the] defendant; (2) location of possible witnesses; (3)
location of events likely to be in issue; (4) location of documents and records likely to be involved;
(5) disruption of defendant‘s business unless the case is transferred; (6) expense to the parties; (7)
location of counsel; (8) relative accessibility of place of trial; (9) docket condition of each district
or division involved; and (10) any other special elements which might affect the transfer. " M, 376
U.S. at 243-44, 84 S.Ct. at 771; §§§al_sg United States v. Collins, No. 91»5215, 1992 WL 31302, at
*4 (6th Cir. Feb. 20, 1992); United States v. Ashland Oil. Inc., 457 F.Supp. 661, 663 (W.D. Ky.
1978); 2 Charles Alan Wright, Federal Practice and Procedure § 344 (3d ed. 2000). The burden rests

on the Defendant to demonstrate that transfer would serve the purposes of the Rule. United States

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y.jipp, Nos. 91-5129, 91-5130, 1991 WL 203756, at *5 (6th Cir. Oct. 7, 1991). Whether to
transfer a case to another district lies within the discretion of the trial judge. QM, 1992 WL
31302, at *4. lt is further within the Court's discretion to balance the Ha_tt factors and to determine
which factors are to be given greater weight. § "Ordinarily the various factors appear in
combination, with some pointing in favor of transfer and others against transfer." 2 Charles Alan
Wright, M, at § 344.

ln support of his motion, the Defendant contends that both he and Love reside in
Chattanooga, as do his character witnesses and office staff; most of the overt acts alleged occurred
in Chattanooga; relevant documents are located in Chattanooga and Nashville, and any Memphis
documents can easily be delivered to the Eastem District; travel to Memphis for Court appearances
will disrupt his Chattanooga law practice; he and his witnesses will be required to incur travel
expenses; trial counsel is located in Nashville, which is closer to Chattanooga than Memphis; and
his age (76) and heart condition are special circumstances favoring trial in his home district.

ln response, the Govemment advises the Court that, as a legislator, the Defendant often
travels from Chattanooga to other parts of the state; almost all of its witnesses are located in
Memphis or out-of-state and can be more easily accommodated in Memphis than Chattanooga; all
pertinent records are located here; and judicial economy would be thwarted if Crutchfield's trial is
moved to Chattanooga, as Love has not requested transfer.6

The Court notes at the outset that " [c]riminal defendants have no constitutional right to have

a trial in their home districts, nor does the location of the defendant's home have independent

 

6ln his reply, the Defendant advises the Court that Love's counsel expressed no opposition
to his motion to transfer.

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significance in determining whether transfer to that district would be in the interest of justice."
United States v. Zylstra, 713 F.2d 1332, 1336 (7th Cir.), Mde_nied, 464 U.S. 965, 104 S.Ct. 403,
78 L.Ed.2d 344 (1983) (intemal quotation marks omitted); @ als_o _E_lLt, 376 U.S. at 245-46, 84
S.Ct. at 772. Moreover, the Defendant has failed to persuade the Court that the factors in his favor
outweigh those proffered by the Govemment in support of keeping this prosecution in the Westem
District of Tennessee. In reviewing the particular facts of this case, the Court concludes that the
Defendant has failed to establish that transfer is "in the interest of justice. " Accordingly, the motion
to transfer is also DENIED.

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J. D EL BREEN \
ED sTATEs DrsTRrC'r JUDGE

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FTNNEESSEE

    

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